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 1    UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
 2    ------------------------------x


 3    UNITED STATES OF AMERICA,                       New York, N.Y.

 4                 v.                                 16 Cr. 0746(PKC)

 5    DAVID BERGSTEIN,

 6                      Defendant.

 7    ------------------------------x
                                                      February 7, 2018
 8                                                    10:11 a.m.
      Before:
 9
                               HON. P. KEVIN CASTEL,
10
                                                      District Judge
11
                                     APPEARANCES
12
      GEOFFREY S. BERMAN
13         Interim United States Attorney for the
           Southern District of New York
14    BY:  EDWARD IMPERATORE
           ROBERT ALLEN
15         ELISHA KOBRE
                Assistant United States Attorneys
16
      BIENERT, MILLER & KATZMAN, PLC
17         Attorneys for Defendant
      BY:  THOMAS H. BIENERT, JR.
18         ANTHONY R. BISCONTI

19    SATTERLEE STEPHENS LLP
           Attorneys for Defendant
20    BY: ANDREW L. FISH

21               - also present -

22    Ellie Sheinwald, U.S. Paralegal Specialist
      Sarah Emmerick, U.S. Paralegal Specialist
23    Caroline Howland, Defense Paralegal Specialist

24    SA Shannon Bieniek, FBI

25


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 1    the note purchase agreement that we had just looked at were

 2    fine and that we wanted to get it signed by Jerry Swartz at

 3    this point, as I stated earlier.

 4    Q.   Why?

 5    A.   Because we wanted Jerry to --we wanted Jerry's signature

 6    on it, and we wanted to make sure that Jerry was aware of this

 7    transaction.

 8    Q.   What did Mr. Bergstein say in response?

 9    A.   He said that he would indeed get it signed by Jerry Swartz.

10    Q.   Did you ever receive Jerry Swartz's signature?

11    A.   I did not.

12                MR. IMPERATORE:    We could take that down.        Thank you.

13    Q.   Mr. Wellner, did you plead guilty to committing crimes in

14    connection with this TT transaction with Swartz IP?

15    A.   I did.

16    Q.   Was the TT agreement with Swartz IP in the best interest of

17    the TT investors?

18    A.   It was not.

19    Q.   Why not?

20    A.   Because the TT offering memorandum provided that it would

21    invest directly or notionally through a transaction with a bank

22    or similar such that it would get the Tewksbury returns or in

23    short be invested with Tewksbury.         This was not an investment

24    with Tewksbury.

25    Q.   Was this transaction within the scope of what was permitted


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 1    by the offering memorandum?

 2    A.   It was not.

 3    Q.   Do you believe it was wrong to enter into this deal?

 4    A.   I do.

 5    Q.   Now,    I believe you testified that as part of this deal,

 6    some money was transferred to another Weston fund,            is that

 7    right?

 8    A.   That's correct.

 9    Q.   All right.     Let's look at Government Exhibit 173, in

10    evidence.

11                 So this is an email from Mr. Bergstein to you and the

12    Hallacs, November 29, 2011, and Mr. Bergstein writes:              "A wire

13    in the amount of roughly 1.7 million was sent to Partners Fund.

14    I will explain the math when we speak.          I will follow up with a

15    confirmation number shortly.        Balance goes out on Thursday."

16                 What was Mr. Bergstein referring to here?

17    A.   This is the-- Mr. Bergstein paid the $3 million that went

18    from Swartz IP to P2 in two pieces and this was the first piece

19    of $1.7 million.

20    Q.   What, if anything, did you tell Mr. Bergstein about why it

21    was necessary to pay Partners 2?

22    A.   Partners 2 had to be repaid because it was at this point,

23    at the end of November and it was 30 days out from the maturity

24    date of P2, and it became more and more likely that Deutsche

25    Bank was not going to come in in time, or certainly not in time


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 1    to meet the December 30th redemption -- I mean

 2    December 30th maturity, and as a result it was important that

 3    Partners got repaid, because Mr. Hallac had promised the

 4    Partners' investors that in January he was going to make a cash

 5    distribution to them and he wanted to make sure that he had the

 6    ability to make even if it wasn't all of the money-- I mean,

 7    obviously that was the ideal goal, but at least be able to pay

 8    some of the money to Partners 2.

 9               THE COURT:     Now, in your answer, you referred to "P2,"

10    "Partners 2" and "Partners."        What, if anything, is the

11    difference between those three terms as used in your last

12    answer?

13               THE WITNESS:     I apologize if I did that.        It was all

14    meant to be one and the same, the Partners 2 Fund.

15               THE COURT:     Thank you.    Next question.

16    BY MR. IMPERATORE:

17    Q.   So you mentioned a December 30th maturity date.            What was

18    the concern there specifically?         If the money was not repaid to

19    P2 as of December 30th, what effect might that have?

20    A.   Well, in short, the January 15th time frame that Mr. Hal lac

21    had promised to pay the P2 investors would not be met, and they

22    would more than likely ask questions as to why that would

23    happen and it would require -- or likely require the disclosure

24    of the fact that P2 had lent money to Arius Libra/WFF.

25    Q.   What, if anything, did you tell Mr. Bergstein about that?


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 1    A.   Mr. Bergstein -- we told Mr. Bergstein that -- that the

 2    money had to be repaid by December 30th because the P2

 3    investors were not aware of the loan to Arius Libra and it had

 4    to be repaid.

 5    Q.   So, in other words, you couldn't keep hiding it if the

 6    maturity date came and you owed this money to P2 investors?

 7    A.   That is correct.      I mean, there was -- it would have been

 8    uncovered -- if by January 15th the money was not repaid so

 9    that Mr. Hallac could then and Weston could repay its

10    investors, it would be -- likely be exposed, the whole loan

11    from P2 to Arius Libra.

12    Q.   How much money ultimately was transferred from Swartz IP to

13    P2 as partial repayment for the P2 loan?

14    A.   The total transfer was slightly over $3 million.

15    Q.   Now, what conflict of interest, if any, was created by

16    transferring $3 million to P2 as partial repayment for its

17    loan?

18    A.   Well, it created a conflict of interest because TT money

19    was being used to pay off P2 and P2 had nothing to do with TT

20    and, likewise, TT had nothing to do with P2.            So they were two

21    separate funds,    separate pools of money, and the conflict was

22    favoring -- in essence, by transferring the $3 million,

23    favoring the P2 investors to the tune of $3 million to the

24    detriment of TT investors.

25    Q.   Did you and Mr. Hallac disclose the TT agreement with


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 1    Swartz IP to TT investors?

 2    A.   We did not.

 3    Q.   Why not?

 4    A.   Because doing so would have angered the TT investors and

 5    likely caused them to seek their money back.

 6    Q.   Why would they have been angry?

 7    A.   Because they wouldn't have known what Schwartz IP was, and

 8    the understanding and the offering documents provided that it

 9    was to be invested with Tewksbury and this was not an

10    investment in Tewksbury.

11    Q.   Now, did you believe it was wrong not to disclose the TT

12    transaction with Swartz IP to TT investors?

13    A.   I do.

14    Q.   Now, did you or Mr. Hallac tell P2 investors about the fact

15    that $3 million was going over from Swartz IP to repay the P2

16    loan?

17    A.   We did not.

18    Q.   Why?

19    A.   Because in doing so that would have raised more questions

20    and likely led to the uncovering of the fact that P2 had

21    provided the loan in the first place to Arius Libra.             You can't

22    disclose the repayment of a loan if they are not aware of the

23    loan existing in the first place.

24    Q.   Now, walk us through the discussions you had with

25    Mr. Bergstein, if any, about whether to disclose the Swartz IP


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 1    do with the actual purchaser of the claim, yet we represented

 2    that we did.

 3    Q.   So, did you falsely represent yourself to Stephens to be

 4    associated with the buyer of this bankruptcy claim?

 5    A.   Yes, and not be affiliated or Mr. Bergstein not having any

 6    affiliation with the buyer.

 7    Q.   And what did this allow Mr. Bergstein to achieve by your

 8    falsely pretending to be associated with the buyer?

 9               MR. BIENERT:     Objection.     Speculative, your Honor.

10    Foundation.

11               THE COURT:     Rephrase it, please.

12    BY MR. IMPERATORE:

13    Q.   What, if anything, did Mr. Bergstein tell you about what he

14    would achieve from this?

15    A.   He was going to be able to obtain a bankruptcy claim that

16    he otherwise would not have been able to obtain.

17    Q.   Why would he otherwise not have been able to obtain this

18    claim on his own?

19    A.   Because it's my understanding that the bankruptcy rules do

20    not allow a debtor or someone affiliated with a debtor to

21    purchase, in essence, their own bankruptcy claims.

22    Q.   Describe what you did at Mr. Bergstein's request.

23    A.   I exchanged e-mails with individuals at Stephens and

24    indicated that I was a representative of the buyer which was a

25    subsidiary of Weston.


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 1    evidence.

 2                 And in the middle part of this Jackson Farrow says:

 3    Mr. Wellner, attached are the completely signed purchase

 4    agreement and the assignment document re the promissory note.

 5                 What was your understanding Mr. Farrow was sending

 6    back to you here?

 7    A.   He is sending me the fully-executed agreement.

 8    Q.   Let's turn to pdf page 7.       Who signed this agreement?

 9    A.   It was signed by the seller, by Jackson Farrow, and the

10    buyer CAC Group, it was signed by Kia Jam.

11    Q.   Let's take a look at the first page of this e-mail again,

12    Ms. Emmerick.

13                 Once this e-mail is sent to you, you then forwarded it

14    to Mr. Bergstein.      Why did you do that?

15    A.   Because he was the purchaser and they requested -- they

16    acknowledged that they were going to send certain documents

17    once they received payment.        So, since Mr. Bergstein was going

18    to be providing the payment and -- yes.           So, once they received

19    the payment, I sent it to Mr. Bergstein so that he would

20    understand that he would have to pay the money and then we

21    would receive the documentation back.

22    Q.   Do you believe it was wrong to lie to Stephens and pretend

23    to be the purchaser?

24    A.   I do.

25    Q.   Ms. Emmerick, please show, for identification only,


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 1    Q.   How do you know that?

 2    A.   Because I have been there.

 3    Q.   And what are the materials that are being referenced here?

 4    A.   They are the materials Stephens had sent to me in

 5    connection with the purchase of the bankruptcy claim.

 6    Q.   If you can zoom out, please?

 7                 And what was your response, Mr. Wellner?

 8    A.   I said that they were delivered to my office last week and

 9     I had my assistant FedEx them to Kia the same day.

10    Q.   And we see here your address 767 Third Avenue, 25th floor;

11     is that right?

12    A.   That's correct.

13    Q.   I want to change topics, Mr. Wellner.           Are you familiar

14    with something called Purplebox?

15    A.   I am.

16    Q.   What is Purplebox?

17    A.   Purplebox was something formed by Weston attorneys for the

18    benefit of Mr. Albert Hallac, Mr. Jeffrey Hallac, and myself.

19    Q.   When was Purplebox created, roughly?

20    A.   The summer of 2011.

21    Q.   Did Purplebox have any business operations?

22    A.   No, it did not.

23    Q.   Did there come a time that Purplebox received any money

24     from Swartz IP?

25    A.   Yes, they did.


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 1    Q.   How much, roughly?

 2    A.   $750,000.

 3    Q.   And when, approximately, did that happen?

 4    A.   It happened in early to mid-December 2011.

 5    Q.   Who transferred that money from Swartz IP to Purplebox?

 6    A.   Mr. Bergstein.

 7    Q.   Was that transfer disclosed to investors?

 8    A.   No, it was not.

 9    Q.   Why?

10    A.   Because it wasn't disclosed to investors because it was not

11    consistent with the use of funds in any particular fund.

12    Q.   And how was the money divided up once it went from

13     Swartz IP to Purplebox?

14    A.   It was divided up $240,000 Mr. Albert Hallac kept,            $120,000

15    went to Jeffrey Hallac, $120,000 went to myself, and $250,000

16    went into Weston Capital, and the balance of $20,000 remained

17     in a bank account in the name of Purplebox.

18    Q.   What did you do with the $120,000 that went from Purplebox

19     to you?

20    A.   I deposited it into my bank account.

21    Q.   When did that happen, roughly?

22    A.   It was paid to me in early January 2012.

23    Q.   What, if anything, did you discuss with Mr. Bergstein about

24    what Purplebox was?

25    A.   Purplebox was created in discussions actually with


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 1     California.     The meeting in California was sort of an ad hoc

 2    meeting.     I wound up going just because the WFF investor,

 3    Mr. Porter, was going to be there, but the general meeting with

 4     share holders -- the large shareholders of WFF was scheduled

 5     for that Thursday afternoon and the following day that Friday.

 6     Q.   Where did the meeting take place?

 7    A.    In Weston's New York office.

 8     Q.   Who attended?

 9    A.    I attended, Albert Hallac attended for part of it, and a

10     number of the WFF investors attended.

11     Q.   Describe what took place at that meeting.           Let me just take

12     a step back.

13                Was Mr. Bergstein there at this meeting?

14    A.    At this meeting in New York, no, he was not.

15     Q.   OK.   Describe what took place at this meeting with

16     investors in New York.

17    A.    The meeting was,     I think, what I would describe as a

18     culmination of the frustration of the investors in not

19     receiving this whole stock of information that they had been

20     requesting for quite some time at this point.            So it was a

21     little bit of the discussion on the hedge funds, which I knew

22     very well, and a bigger discussion on the medical billing

23     business and where things stood, the financial condition, which

24     I did not know well at all.

25     Q.   You testified earlier that you falsely disclosed to


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 1     investors that Arius Libra was indebted to an entity called

 2     Swartz IP.

 3                What requests, if any, did investors have at this

 4    meeting relating to that disclosure?

 5    A.    They were seeking -- one of the requests was that they were

 6     seeking the actual loan documents as it related to the loan

 7     from Swartz IP to Arius Libra.

 8     Q.   To whom did they make that request during this meeting?

 9    A.    To me.

10     Q.   What did you say in response?

11    A.    I told them that I would get them the loan documents.              I

12     told them that I had the note but I didn't have the balance of

13     the loan documents readily available and I would get that to

14     them.

15     Q.   Was that true?

16    A.    No, it was not true.

17     Q.   At that point in time, was there any loan note between

18    Arius Libra and Swartz IP?

19    A.    There were no loan documents at that time.            The only loan

20    documents that existed were between Arius Libra and P2.

21     Q.   OK.   And did you tell anything to investors about the loan

22     between P2 and Arius Libra?

23    A.    No, that was not disclosed.

24     Q.   All right.    So when investors asked you for this loan

25    documentation, what did you do?


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 1    difficult situation, and that they were particularly unhappy

 2     that I cannot provide them the note and other loan documents

 3     but particularly the note.

 4     Q.   All right.    And when you say "the note," are you referring

 5     to this note for a loan that never even happened?

 6    A.    That's correct.

 7     Q.   What was Mr. Bergstein's reaction?

 8    A.    His reaction was don't worry, we're going to take care of

 9     this, and we'll solve this problem.          I mean, that was his

10     reaction to most things.

11     Q.   OK.    What did he propose?

12    A.    He proposed that we create documentation to support the

13     statement that was made back in March, that Arius Libra was in

14     fact indebted to Swartz IP, when in fact it was not.

15     Q.   How could you create documentation to show that?             You just

16     said that there was no such loan.

17    A.    Right.    The solution was to create documentation to show

18     the existence of a loan that didn't exist.

19     Q.   Fake documentation?

20    A.    Yes.

21     Q.   And did you agree to do that with Mr. Bergstein?

22    A.    Yes.

23     Q.   Did you believe what you were doing was wrong?

24    A.    Yes.

25     Q.   Now, did you travel back to California later in May of


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